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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION


  MOBILITY WORKX, LLC,
                Plaintiff,
                                                           Case No. 4:24-cv-00796-ALM
  v.
                                                           JURY TRIAL DEMANDED
  Ericsson, Inc.,              Defendant.


  MOBILITY WORKX, LLC,
                Plaintiff,
                                                           Case No. 4:24-cv-00797-ALM
  v.
                                                           JURY TRIAL DEMANDED
  Nokia Corp. et al.,
                         Defendants.


  MOBILITY WORKX, LLC,
                Plaintiff,
                                                           Case No. 4:24-cv-00798-ALM
  v.
                                                           JURY TRIAL DEMANDED
  Samsung Elecs. Co., Ltd. et al,
                       Defendants.


  MOBILITY WORKX, LLC,
                Plaintiff,
                                                           Case No. 4:24-cv-00799-ALM
  v.
                                                           JURY TRIAL DEMANDED
  Cisco Systems, Inc.,
                         Defendant.


                                 JOINT RULE 26(f) REPORT

        Plaintiff Mobility Workx LLC (“Mobility Workx” or “Plaintiff”) and Defendants Ericsson

 Inc. (“Ericsson”), Nokia Corporation, Nokia Solutions and Networks Oy, and Nokia of America



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 Corporation (collectively, “Nokia”), Samsung Electronics Co., Ltd., and Samsung Electronics

 America, Inc. (collectively, “Samsung”), and Cisco Systems, Inc. (“Cisco”) (collectively

 “Defendants”) (collectively with Plaintiff, the “Parties”) have conferred as required by Fed. R.

 Civ. P. 26(f) and the Court’s Orders Governing Proceedings and accordingly file this joint report

 in each of the above-captioned cases.

         1.      Scheduling Order

         The Parties have agreed on a proposed scheduling order (attached as Exhibit A) and ask

 that the Court enter it.

                 (a) The Parties do not believe that any specific limits on discovery relating to claim

 construction are needed.

                 (b) The Parties do not believe that a Claim Construction Pre-hearing Conference is

 necessary.

         2.      Mediation

         The Parties believe that mediation would be helpful in this case. At this time the Parties

 have not yet agreed on a mediator. They are continuing to evaluate potential mediators and will

 notify the court at the scheduling conference if they have identified an agreed mediator or confirm

 that they were unable to reach agreement.

         3.      Limitations on Discovery

         Disputed in part.

         For purposes of discovery limits, the Parties agree that “side” means the plaintiff or a

 defendant party group from each of the respective, separately filed cases. For example, Samsung

 Electronics Co., Ltd. and Samsung Electronics America, Inc. collectively are a “side,” and

 Mobility Workx LLC is a side.



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        The Parties also agree that the limitations on discovery provided in Section I of the Order

 Governing Proceedings should be modified to include unlimited requests for admission directed

 to the authentication of documents. The Parties also agree that the depositions of experts are not

 included in the limitations on discovery. The Parties shall meet and confer in good faith regarding

 hour limitations for depositions of the named inventors of the asserted patents, including to discuss

 the possibility of Defendants jointly conducting portions of the depositions of the named inventors.

        The Parties disagree on whether any additional modifications should be made to the

 limitations on discovery provided in Section I of the Order Governing Proceedings:

        Plaintiff’s Position: Plaintiff believes that the limitations should be modified to allow up to

 seventy (70) hours of deposition time per side.

        Defendants’ Position: Defendants believe that the limitations should be modified to allow

 unlimited requests for admission directed to whether a document qualifies as a printed publication

 under 35 U.S.C. § 102. As to deposition limits, Defendants believe that forty (40) hours of

 deposition per side for party and nonparty depositions is reasonable and sufficient assuming expert

 depositions do not count toward the forty (40) hour limit.

        4.      Identity of Persons Expected to be Deposed

        Plaintiff Mobility Workx will disclose individuals with knowledge relevant to the claims

 or defenses in these cases as part of its Rule 26 disclosures and experts will be disclosed in

 accordance with the scheduling order and applicable Local and Federal Rules. Defendants may

 wish to depose these individuals. Mobility Workx expects to depose: Defendants, experts to be

 disclosed by Defendants, and third party suppliers of equipment or services to Defendants.

        Defendants will disclose individuals with knowledge relevant to their claims or defenses

 in their respective cases as part of their respective Rule 26 disclosures, and experts will be



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 disclosed in accordance with the scheduling order and applicable Local and Federal Rules.

 Mobility Workx may wish to depose these individuals. Defendants expect to depose at least the

 following at this time: Mobility Workx, the named inventors, third parties having prior and/or

 current ownership interests in the asserted patents, and experts to be disclosed by Mobility Workx.

        5.        Disclosure of Information

        The Parties agree that they will produce the documents required by section H(4) of the

 Court’s Order Governing Proceedings as set forth in the Parties’ proposed scheduling order

 attached hereto.

        The Parties are continuing to confer regarding an order addressing the production of

 electronic information and e-discovery guidelines. The Parties will notify the court whether they

 have agreed on a proposed order or if any disputes remain no later than March 31, 2025.

        6.        Preservation

        The Parties do not believe that any specific Preservation Order is needed in this case.

        7.        Other Orders Under Fed. R. Civ. P. 26(c), 16 (b), or 16(c)

        Disputed in part.

        Plaintiff’s Position: Plaintiff believes the Protective Order already entered by the Court in

 this case with its Order Governing Proceedings is sufficient if merely amended to add a new sub-

 section (5)(4) permitting disclosure of Confidential Information to “Parties’ experts, consultants,

 and advisors.”

        Defendants’ Position: In order to protect their highly confidential information and to more

 clearly articulate the specific persons having access to the confidential information, Defendants

 submit that Paragraph 5 of the Protective Order entered by the Court in this case with its Order

 Governing Proceedings should be amended as follows:



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       (5) Protected Documents and any information contained therein shall be disclosed only to

       the following persons (“Qualified Persons”):

       (a) outside counsel of record in this action for the Parties;

       (b) employees of such counsel assigned to and reasonably necessary to assist such counsel

       in the litigation of this action;

       (c) no more than two (2) in-house counsel for the receiving Party (1) who have no

       involvement in competitive decision-making, and (2) who have responsibility for making

       decisions dealing directly with these litigations; provided that such individuals consent in

       writing to be bound by the terms of this Order by executing the Undertaking attached as

       Exhibit A hereto and that the producing Party be given five (5) days from receipt of the

       signed Undertaking to object to the disclosure before access to any Protected Documents

       is granted. The Parties agree to promptly confer and use good faith to resolve any such

       objection. If the Parties are unable to resolve any objection, the objecting Party or Parties

       shall certify to the Court that the Parties cannot reach an agreement as to an objection

       related to the disclosure of Protected Documents to an in-house counsel. Thereafter, the

       Party or Parties objecting to disclosure of the Protected Documents shall have ten (10) days

       for the date of certification to file a motion for a protective order with respect to the

       proposed disclosure. The objecting Party shall have the burden of proving the need for a

       protective order. If the objecting Party or Parties do not timely file a motion for protective

       order, then the in-house counsel is no longer prohibited from accessing Protected

       Documents. No disclosure shall occur until and unless the Parties formally agree in writing

       to the contrary, a Party fails to timely move for a protective order, or a contrary




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       determination is made by the Court permitting disclosure of Protected Documents to the

       in-house counsel.

       (d) outside consultants or experts retained for the purpose of this litigation, provided that:

       (1) such consultants or experts are not a named inventor on any asserted patent, not

       presently an employee of a Party, and do not have competitive decision-making

       responsibilities for a Party; and (2) before access is given, the consultant or expert has

       completed the Undertaking attached as Exhibit A hereto and the same is served upon the

       producing Party with a current curriculum vitae of the consultant or expert at least ten (10)

       days before access to the Protected Documents is to be given to that consultant or expert

       to allow for the producing Party to object to and notify the receiving Party in writing that

       it objects to disclosure of Protected Documents to the consultant or expert. The Parties

       agree to promptly confer and use good faith to resolve any such objection. If the Parties

       are unable to resolve any objection, the objecting Party or Parties shall certify to the Court

       that the Parties cannot reach an agreement as to an objection related to the disclosure of

       Protected Documents to a consultant or expert. Thereafter, the Party or Parties objecting

       to disclosure of the Protected Documents shall have ten (10) days for the date of

       certification to file a motion for a protective order with respect to the proposed disclosure.

       The objecting Party shall have the burden of proving the need for a protective order. If the

       objecting Party or Parties do not timely file a motion for protective order, then the

       consultant or expert is no longer prohibited from accessing Protected Documents. No

       disclosure shall occur until and unless the Parties formally agree in writing to the contrary,

       a Party fails to timely move for a protective order, or a contrary determination is made by

       the Court permitting disclosure of Protected Documents to the expert or consultant;



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        (e) independent litigation support services, including persons working as translators, court

        reporters, graphics or design services, jury or trial consulting services, and photocopy,

        document imaging, and database services retained by counsel and reasonably necessary to

        assist counsel with the litigation of this action;

        (f) the Court and its personnel;

        (g) any mediator who is assigned to hear this matter, and his or her staff, subject to their

        agreement to maintain confidentiality to the same degree as required by this Protective

        Order; and

        (h) an author, signatory, or prior recipient of or person having prior access to the document

        or the original source of the Protected Documents. Such person shall be given access only

        to the specific document or information therein.

        Protected Documents and information contained therein shall be used solely for the

        prosecution of this litigation.

 A copy of the proposed Undertaking referenced above is attached hereto as Exhibit A.

        In order to protect highly sensitive information and confidential information of third

 parties, Defendants submit that Paragraph 15 of the Protective order entered by the Court in this

 case with its Order Governing Proceedings should be added as follows:

        (15) To the extent a producing Party believes that certain Protected Documents qualifying

        to be designated as Confidential Information are so sensitive that its dissemination deserves

        even further limitation, the producing Party may designate such Protected Documents as

        “Restricted – Attorneys’ Eyes Only.” For Protected Documents designated “Restricted –

        Attorneys’ Eyes Only,” access to, and disclosure of, such Protected Documents and

        information shall be limited to individuals listed in Paragraphs 5(a-b) and (d-h). For the



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        sake of clarity, however, subject to any objections from a relevant Third Party, those

        persons identified in Paragraph 5(c) herein shall be allowed to be provided with a

        description of the scope, payment structure and amount of any license agreement by outside

        counsel. Such disclosure to persons identified in Paragraph 5(c) shall be solely for the

        purpose of facilitating settlement negotiations in these litigations.

        Defendants also assert that to the extent Plaintiff requests inspection of source code, the

 Parties will negotiate in good faith as to a further amendment to the Protective Order to govern

 such inspection.

        8.      Estimated Trial Time

        Mobility Workx submits that the estimated time for a trial in each case would be 7-10 days.

        Defendants submit that the estimated time for a trial in each case would be 5-6 days.

        9.      Name of Attorneys Appearing at the CMC

        Daniel Ravicher and Michael Machat will attend the case management conference on

 behalf of Plaintiff Mobility Workx.

         Holly Engelmann and Tia Fenton will attend for Cisco.

        Chris Burrell and Melissa Smith will attend for Samsung.

        Deron Dacus will attend for Ericsson and Nokia.

        10.     Other Matters

        The Parties have agreed to accept service by email on counsel of record.

        The Parties agree that as to the privilege log, no documents dated on or before the filing

 date of these actions needs to be included on the log.

        At this time, the Parties do not believe that there are any other matters for inclusion in the

 joint conference report.



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  Dated: March 31, 2025                        Respectfully submitted,

  Counsel for Plaintiff                        Counsel for Defendant
  Mobility Workx LLC                           Cisco Systems, Inc.

  /s/ Daniel B. Ravicher                       /s/ Holly E. Engelmann
  Daniel B. Ravicher (FL Bar No. 102809)       Louis N. Jameson
  dan@zeisler-law.com                          GA State Bar No. 003970
  ZEISLER PLLC                                 wjameson@duanemorris.com
  80 SW 8th St Ste 3110                        DUANE MORRIS LLP
  Miami, FL 33130                              1075 Peachtree Street NE, Suite 1700
  Phone: (786) 505-1205                        Atlanta, GA 30309
                                               Tel: (404) 253-6915
  Michael Machat (CA Bar No. 109475)
  michael@machatlaw.com                        Tia Fenton
  MACHAT & ASSOCIATES, PC                      tdfenton@duanemorris.com
  8730 W. Sunset Blvd. Ste. 250                Kevin Anderson
  West Hollywood, CA 90069                     kpanderson@duanemorris.com
  Phone: (310) 860-1833                        Chris Ricciuti
                                               cricciuti@duanemorris.com
                                               DUANE MORRIS LLP
                                               901 New York Avenue, N.W., Suite 700 East
                                               Washington, DC 20001
                                               Tel: (202) 776-7800

                                               Holly E. Engelmann
                                               State Bar No. 24040865
                                               hengelmann@duanemorris.com
                                               DUANE MORRIS LLP
                                               Terrace 7
                                               2801 Via Fortuna, Suite 200
                                               Austin, Texas 78746
                                               Tel: (512) 277-2246




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  Counsel for Defendants Samsung Electronics Counsel for Defendant Ericsson Inc.
  Co., Ltd. and Samsung Electronics America,
  Inc.                                       /s/ Jacob K. Baron

  /s/ Melissa Smith                              Deron R. Dacus
  Melissa R. Smith                               Texas Bar No. 00790553
  State Bar No. 24001351                         E-mail: ddacus@dacusfirm.com
  melissa@gillamsmithlaw.com                     THE DACUS FIRM, P.C.
  GILLAM & SMITH LLP                             821 ESE Loop 323, Suite 430
  303 South Washington Avenue                    Tyler, Texas 75701
  Marshall, Texas 75670                          903-705-1117 (phone)
  Telephone:     (903) 934-8450                  903-581-2543 (fax)
  Facsimile:     (903) 934-9257
                                                 Jacob K. Baron, Esq.
  Christopher J. Burrell (admitted pro hac vice) MA Bar No.: 652568
  chris.burrell@faegredrinker.com                Email: jacob.baron@hklaw.com
  Brianna Lynn Silverstein (admitted pro hac Joshua C. Krumholz, Esq.
  vice)                                          (Pro hac vice)
  brianna.silverstein@faegredrinker.com          MA Bar No.: 552573
  FAEGRE DRINKER BIDDLE & REATH Email: joshua.krumholz@hklaw.com
  LLP                                            Jacob W. S. Schneider, Esq.
  1500 K Street, NW                              (Pro hac vice)
  Suite 1100                                     MA Bar No.: 675315
  Washington, D.C. 20005                         Email: jacob.schneider@hklaw.com
  Telephone:      (202) 842-8800                 Allison M. Lucier, Esq.
  Facsimile:      (202) 842-8465                 (Pro hac vice)
                                                 MA Bar No.: 569193
  Timothy E. Grimsrud (admitted pro hac vice) Email: allison.lucier@hklaw.com
  tim.grimsrud@faegredrinker.com                 Mark M. Masutani, Esq.
  FAEGRE DRINKER BIDDLE & REATH (Pro hac vice)
  LLP 2200 Wells Fargo Center                    MA Bar No.: 713398
  90 South Seventh Street                        Email: mark.masutani@hklaw.com
  Minneapolis, MN 55402                          HOLLAND & KNIGHT LLP
  Telephone:      (612) 766-7000                 10 Saint James Avenue; 11th Floor
  Facsimile:      (612) 766-1600                 Boston, MA 02116
                                                 Telephone: 617-523-2700
                                                 Facsimile: 617-523-6850




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  Counsel for Defendants Nokia of America
  Corporation and Nokia Solutions and
  Networks Oy

  /s/ Matthew S. Yungwirth

  Deron R. Dacus
  Texas Bar No. 00790553
  E-mail: ddacus@dacusfirm.com
  THE DACUS FIRM, P.C.
  821 ESE Loop 323, Suite 430
  Tyler, Texas 75701
  903-705-1117 (phone)
  903-581-2543 (fax)

  Matthew S. Yungwirth
  MSYungwirth@duanemorris.com
  DUANE MORRIS LLP
  1075 Peachtree Street NE, Suite 1700
  Atlanta, GA 30309
  Telephone: 404.253.6900
  Facsimile: 404.253.6901




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